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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

ROBERT BRESLOW and MONICA BRESLOW,                    C.A. No. 18-908-RGA

         Plaintiffs,

                          v.

JOHN H. KLEIN

         Defendant.


                       PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE
                          TO FILE FIRST AMENDED COMPLAINT

         Pursuant to Rules 15(a) and 20(a) of the Federal Rules of Civil Procedure, Plaintiffs

Robert Breslow and Monica Breslow (the “Breslows”) seek leave to file their First Amended

Complaint, which adds Barry A. Posner as a defendant.

         Pursuant to Local Rule 15.1, copies of the proposed First Amended Complaint and a

redlined form of the amended complaint are attached hereto as Exhibits A and B, respectively.

In accordance with Federal Rule of Civil Procedure 15(a), leave to amend pleadings shall be

freely given when justice so requires. Furthermore, defendant John H. Klein has indicated that

he does not oppose the filing of the First Amended Complaint and the parties have agreed to a

deadline by which Mr. Klein will respond.

         Accordingly, Plaintiffs respectfully request that the Court enter the attached Order

permitting the filing of Plaintiffs’ First Amended Complaint.




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Dated: August 3, 2018




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